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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


  JENAM TECH, LLC,
                                                        Civil Action No.: 6:20-cv-00453
                         Plaintiff
                                                          JURY TRIAL DEMANDED
   v.
                                                          PATENT CASE
  GOOGLE LLC,

                         Defendant.




        PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Jenam Tech, LLC (“Jenam Tech” or “Plaintiff”), files this Complaint against

Google, LLC ( “Google” or “Defendant") seeking damages and other relief for patent

infringement, and alleges with knowledge to its own acts, and on information and belief as to other

matters, as follows:


                                              PARTIES

        1.       Plaintiff is a limited liability company organized and existing under the laws of the

State of Texas, having its principal place of business at 211 West Tyler Street, Suite C, Longview,

Texas, 75601.

        2.       Defendant Google is a Delaware corporation with a physical address at 500 West

2nd Street, Austin, Texas 78701. Google may be served with process through its registered agent,

the Corporation Service Company, at 211 East 7th Street, Suite 620, Austin, Texas 78701. Google

is registered to do business in the State of Texas and has been since at least November 17, 2006.
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       3.       This Court has personal jurisdiction over Google at least because Google regularly

conducts and transacts business, including infringing acts described herein, in this District.

       4.       Defendant conducts business in Texas, directly or through intermediaries and offer

products or services, including those accused herein of infringement, to customers, and potential

customers located in Texas, including in the Western District of Texas.


                                 JURISDICTION AND VENUE

       5.       This action arises under the patent laws of the United States, 35 U.S.C. §101, et

seq. This Court has subject matter jurisdiction under 28 U.S.C. §§1331 and 1338(a).

       6.       As to Google, venue is proper in this judicial district pursuant to 28 U.S.C.

§1400(b). Google maintains an established place of business in the state of Texas and the Western

District of Texas, specifically, including an office at 500 West 2nd Street, Austin, Texas 78701.

        7.      Defendants are subject to this Court’s specific and general personal jurisdiction

pursuant to due process or the Texas Long Arm Statute, because Defendants conduct substantial

business in this forum, including: (i) making, using, selling, importing, and/or offering for sale one

or more websites or web addresses including, but not limited to www.google.com, stored and/or

hosted on one or more servers owned or under the control of Google (“Accused

Instrumentalities”); (ii) making, using, selling, importing, and/or offering for sale software for

smartphones and tablets as well as other computing devices (e.g., laptops, desktops, Chromebooks,

etc.) (“Accused Software”); or (iii) regularly doing or soliciting business, engaging in other

persistent courses of conduct, or deriving substantial revenue from goods and services provided to

citizens and residents in Texas and in this District.




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                                    THE PATENTS-IN-SUIT

       8.       On March 7, 2018, Robert Paul Morris filed United States Patent Application No.

15/915,053 (“the ʼ053 Application”). The ʼ053 Application was duly examined and issued as

United States Patent No. 10,069,945 (“the ʼ945 patent”) (entitled “Methods, Systems, and

Computer Program Products for Sharing Information for Detecting an Idle TCP Connection”), on

September 4, 2018.

       9.       Jenam Tech is the owner of the ʼ945 patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendants’ infringement of

the ʼ945 patent.

       10.      The ʼ945 patent is valid and enforceable. A true and correct copy of the ʼ945 patent

is attached hereto as Exhibit A.

       11.      On March 7, 2018, Robert Paul Morris filed United States Patent Application No.

15/915,047 (“the ʼ047 Application”). The ʼ047 Application was duly examined and issued as

United States Patent No. 10,075,564 (“the ʼ564 patent”) (entitled “Methods, Systems, and

Computer Program Products for Sharing Information for Detecting an Idle TCP Connection”), on

September 11, 2018.

       12.      Jenam Tech is the owner of the ʼ564 patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendants’ infringement of

the ʼ564 patent.

       13.      The ʼ564 patent is valid and enforceable. A true and correct copy of the ʼ564 patent

is attached hereto as Exhibit B.

       14.      On March 7, 2018, Robert Paul Morris filed United States patent Application No.

15/915,052 (“the ʼ052 Application”). The ʼ052 Application was duly examined and issued as



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United States Patent No. 10,075,565 (“the ʼ565 patent”) (entitled “Methods, Systems, and

Computer Program Products for Sharing Information for Detecting an Idle TCP Connection”), on

September 11, 2018.

       15.      Jenam Tech is the owner of the ʼ565 patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendants’ infringement of

the ʼ565 patent.

       16.      The ʼ565 patent is valid and enforceable. A true and correct copy of the ʼ565 patent

is attached hereto as Exhibit C.

       17.      On July 19, 2018, Robert Paul Morris filed United States Patent Application No.

16/040,522 (“the ʼ522 Application”). The ʼ522 Application was duly examined and issued as

United States Patent No. 10,375,215 (“the ʼ215 patent”) (entitled “Methods, Systems, and

Computer Program Products for Sharing Information for Detecting an Idle TCP Connection”), on

August 6, 2019.

       18.      Jenam Tech is the owner of the ʼ215 patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendants’ infringement of

the ʼ215 patent.

       19.      The ʼ215 patent is valid and enforceable. A true and correct copy of the ʼ215 patent

is attached hereto as Exhibit D.

       20.      On July 19, 2018, Robert Paul Morris filed United States Patent Application No.

16/040,517 (“the ʼ517 Application”). The ʼ517 Application was duly examined and issued as

United States Patent No. 10,306,026 (“the ʼ026 patent”) (entitled “Methods, Systems, and

Computer Program Products for Sharing Information for Detecting an Idle TCP Connection”), on

May 28, 2019.



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        21.    Jenam Tech is the owner of the ʼ026 patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendants’ infringement of

the ʼ026 patent.

        22.    The ʼ026 patent is valid and enforceable. A true and correct copy of the ʼ026 patent

is attached hereto as Exhibit E.

        23.    On September 3, 2017, Robert Paul Morris filed United States Patent Application

No. 15/694,802 (“the ‘802 Application”). The ‘802 Application was duly examined and issued as

United States Patent No. 9,923,995 (“the ‘995 Patent”) (entitled “Methods, Systems, and Computer

Program Products for Sharing Information for Detecting an Idle TCP Connection”), on March 20,

2018.

        24.    Jenam Tech is the owner of the ‘995 Patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendant’s infringement of

the ‘995 Patent.

        25.    The ʼ995 Patent is valid and enforceable. A true and correct copy of the ʼ995 Patent

is attached hereto as Exhibit F.

        26.    On September 3, 2017, Robert Paul Morris filed United States Patent Application

No. 15/694,803 (“the ‘803 Application”). The ‘803 Application was duly examined and issued as

United States Patent No. 9,923,996 (“the ʼ996 Patent”) (entitled “Methods, Systems, and Computer

Program Products for Sharing Information for Detecting an Idle TCP Connection”), on March 20,

2018.

        27.    Jenam Tech is the owner of the ʼ996 Patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendant’s infringement of

the ʼ996 Patent.



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        28.     The ʼ996 Patent is valid and enforceable. A true and correct copy of the ʼ996 Patent

is attached hereto as Exhibit G.

        29.     The ʼ945, ʼ564, ʼ565, ʼ215, ʼ026, ʼ995 and ʼ996 patents are collectively referred to

herein as the “patents” or the “patents in suit.”

        30.     Jenam Tech has not practiced any claimed invention of the patents in suit.

        31.     Defendants infringe the patents at least through making, using, selling, importing,

and/or offering to sell the Accused Instrumentalities and Accused Software.


                     COUNT I: INFRINGEMENT OF THE ʼ945 PATENT

        32.     Jenam Tech repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

        33.     The ʼ945 patent includes 144 claims. ʼ945 patent, Ex. A at 24:8-36:65.

        34.     Defendants directly infringe one or more claims of the ʼ945 patent without authority

by making, using (including without limitation testing), selling, importing, and/or offering to sell

products and systems, including by way of example, the Accused Instrumentalities. See Claim

Chart for the ʼ945 patent, attached hereto as Exhibit H.

        35.     Defendants have been and are directly infringing, either literally or under the

doctrine of equivalents, at least Claim 104 of the ʼ945 patent by making, using (including without

limitation testing), selling, importing, and/or offering to sell the Accused Instrumentalities. See

Claim Chart for the ʼ945 patent, attached hereto as Exhibit H. As demonstrated by the attached

claim chart, each and every element of Claim 104 of the ʼ945 patent is found in the Accused

Instrumentalities.

        36.     Defendants have had actual knowledge of the ʼ945 patent at least as early as the

date of service of this Complaint.


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        37.     Defendants’ acts of infringement have occurred within this District and elsewhere

throughout the United States.


                     COUNT II: INFRINGEMENT OF THE ʼ564 PATENT

        38.     Jenam Tech repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

        39.     The ʼ564 patent includes 30 claims. ʼ564 patent, Ex. B at 23:5–27:28.

        40.     Defendants directly infringe one or more claims of the ʼ564 patent without authority

by making, using (including without limitation testing), selling, importing, and/or offering to sell

products and systems, including by way of example, the Accused Instrumentalities. See Claim

Chart for the ʼ564 patent, attached hereto as Exhibit I.

        41.     Defendants have been and are directly infringing, either literally or under the

doctrine of equivalents, at least Claim 1 of the ʼ564 patent by making, using (including without

limitation testing), selling, importing, and/or offering to sell the Accused Instrumentalities. See

Claim Chart for the ʼ564 patent, attached hereto as Exhibit I. As demonstrated by the attached

claim chart, each and every element of Claim 1 of the ʼ564 patent is found in the Accused

Instrumentalities.

        42.     Defendants have had actual knowledge of the ʼ564 patent at least as early as the

date of service of this Complaint.

        43.     Defendants’ acts of infringement have occurred within this District and elsewhere

throughout the United States.


                     COUNT III: INFRINGEMENT OF THE ʼ565 PATENT

        44.     Jenam Tech repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

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        45.     The ʼ565 patent includes 30 claims. ʼ565 patent, Ex. C at 23:48–28:65.

        46.     Defendants directly infringe one or more claims of the ʼ565 patent without authority

by making, using (including without limitation testing), selling, importing, and/or offering to sell

products and systems, including by way of example, the Accused Instrumentalities. See Claim

Chart for the ʼ565 patent, attached hereto as Exhibit J.

        47.     Defendants have been and are directly infringing, either literally or under the

doctrine of equivalents, at least Claim 1 of the ʼ565 patent by making, using (including without

limitation testing), selling, importing, and/or offering to sell the Accused Instrumentalities. See

Claim Chart for the ʼ565 patent, attached hereto as Exhibit J. As demonstrated by the attached

claim chart, each and every element of Claim 1 of the ʼ565 patent is found in the Accused

Instrumentalities.

        48.     Defendants have had actual knowledge of the ʼ565 patent at least as early as the

date of service of this Complaint.

        49.     Defendants’ acts of infringement have occurred within this District and elsewhere

throughout the United States.


                     COUNT IV: INFRINGEMENT OF THE ʼ215 PATENT

        50.     Jenam Tech repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

        51.     The ʼ215 patent includes 39 claims. ʼ215 patent, Ex. D at 24:15–30:23.

        52.     Defendants directly infringe one or more claims of the ʼ215 patent without authority

by making, using (including without limitation testing), selling, importing, and/or offering to sell

products and systems, including by way of example, the Accused Instrumentalities. See Claim

Chart for the ʼ215 patent, attached hereto as Exhibit K.


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        53.     Defendants have been and are directly infringing, either literally or under the

doctrine of equivalents, at least Claim 1 of the ʼ215 patent by making, using (including without

limitation testing), selling, importing, and/or offering to sell the Accused Instrumentalities. See

Claim Chart for the ʼ215 patent, attached hereto as Exhibit K. As demonstrated by the attached

claim chart, each and every element of Claim 1 of the ʼ215 patent is found in the Accused

Instrumentalities.

        54.     Defendants have had actual knowledge of the ʼ215 patent at least as early as the

date of service of this Complaint.

        55.     Defendants’ acts of infringement have occurred within this District and elsewhere

throughout the United States.


                     COUNT V: INFRINGEMENT OF THE ʼ026 PATENT

        56.     Jenam Tech repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

        57.     The ʼ026 patent includes 98 claims. ʼ026 patent, Ex. E at 24:16–34:30.

        58.     Defendants directly infringe one or more claims of the ʼ026 patent without authority

by making, using (including without limitation testing), selling, importing, and/or offering to sell

products and systems, including by way of example, the Accused Instrumentalities and the

Accused Software. See Claim Chart for the ʼ026 patent, attached hereto as Exhibit L.

        59.     Defendants have been and are directly infringing, either literally or under the

doctrine of equivalents, at least Claim 1 of the ʼ026 patent by making, using (including without

limitation testing), selling, importing, and/or offering to sell the Accused Instrumentalities and the

Accused Software. See Claim Chart for the ʼ026 patent, attached hereto as Exhibit L. As




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demonstrated by the attached claim chart, each and every element of Claim 1 of the ʼ026 patent is

found in the Accused Instrumentalities and the Accused Software.

        60.     Defendants have had actual knowledge of the ʼ026 patent at least as early as the

date of service of this Complaint.

        61.     Defendants’ acts of infringement have occurred within this District and elsewhere

throughout the United States.


                    COUNT VI: INFRINGEMENT OF THE ‘995 PATENT

        62.     Jenam Tech repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

        63.     The ʼ995 patent includes 30 claims. ʼ995 patent, Ex. F at 23:4-28:16.

        64.     Defendants directly infringe one or more claims of the ʼ995 patent without authority

by making, using (including without limitation testing), selling, importing, and/or offering to sell

products and systems, including by way of example, the Accused Instrumentalities and the

Accused Software. See Claim Chart for the ʼ995 patent, attached hereto as Exhibit M.

        65.     Defendants have been and are directly infringing, either literally or under the

doctrine of equivalents, at least Claim 29 of the ʼ995 patent by making, using (including without

limitation testing), selling, importing, and/or offering to sell the Accused Instrumentalities and the

Accused Software. See Claim Chart for the ʼ995 patent, attached hereto as Exhibit M. As

demonstrated by the attached claim chart, each and every element of Claim 29 of the ‘995 patent

is found in the Accused Instrumentalities and the Accused Software.

        66.     Defendants have had actual knowledge of the ʼ995 patent at least as early as the

date of service of this Complaint.




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       67.       Defendants’ acts of infringement have occurred within this District and elsewhere

throughout the United States.


                     COUNT VII: INFRINGEMENT OF THE ‘996 PATENT

       68.       Jenam Tech repeats and re-alleges the allegations of the above paragraphs as if fully

             set forth herein.

       69.       The ‘996 patent includes 30 claims. ‘996 patent, Ex. G at 23:27-28:42.

       70.       Defendants directly infringe one or more claims of the ʼ996 patent without authority

by making, using (including without limitation testing), selling, importing, and/or offering to sell

products and systems, including by way of example, the Accused Instrumentalities. See Claim

Chart for the ʼ996 patent, attached hereto as Exhibit N.

       71.       Defendants have been and are directly infringing, either literally or under the

doctrine of equivalents, at least Claim 1 of the ʼ996 patent by making, using (including without

limitation testing), selling, importing, and/or offering to sell the Accused Instrumentalities. See

Claim Chart for the ‘996 patent, attached hereto as Exhibit N. As demonstrated by the attached

claim chart, each and every element of Claim 1 of the ʼ996 patent is found in the Accused

Instrumentalities.

       72.       Defendants have had actual knowledge of the ʼ996 patent at least as early as the

date of service of this Complaint.

       73.       Defendants’ acts of infringement have occurred within this District and elsewhere

throughout the United States.


                                      RELIEF REQUESTED

       WHEREFORE, Plaintiff respectfully requests that the Court:

       A.        Declaring that Defendants have infringed the patents in suit;

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        B.      Awarding damages in an amount to be proven at trial, but in no event less than a

        reasonable royalty for Defendants’ infringement including pre-judgment and post-

        judgment interest at the maximum rate permitted by law;

        C.      Ordering an award of reasonable attorneys’ fees and enhanced damages as

        appropriate against Defendant to Jenam Tech as provided by 35 U.S.C. § 285;

        D.      Awarding expenses, costs, and disbursements in this action against Defendants,

        including prejudgment interest; and

        E.      All other relief necessary or appropriate.


                                         JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff hereby demands a trial by jury

on all issues so triable.



Dated: June 1, 2020                            /s/ James M. Lennon
                                               James M. Lennon (Bar No. 4570)
                                               Timothy Devlin (Bar No. 4241)
                                               Derek Dahlgren (Bar No. 983624)
                                               Cory Edwards (Bar No. 6329639)
                                               DEVLIN LAW FIRM LLC
                                               1526 Gilpin Avenue
                                               Wilmington, DE 19806
                                               Telephone: (302) 449-9010
                                               Facsimile: (302) 353-4251
                                               jlennon@devlinlawfirm.com
                                               tdevlin@devlinlawfirm.com
                                               ddahlgren@devlinlawfirm.com
                                               cedwards@devlinlawfirm.com

                                               Attorneys for Plaintiff,
                                               Jenam Tech, LLC




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